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Case 2:09-cv-01258-RAJ Document1 Filed 09/04/09 Page 1of5

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09-CV-01258-CMP

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON

AT SEATTLE
UNITED STATES OF AMERICA, __ ) 1 2 5 8 RA)
_ ) ON
Plaintiff, )
)
v. )
) COMPLAINT
JACKIE D. LONG, )
)
Defendant. )
)

 

The United States of America, by and through Jeffrey C. Sullivan, United States Attorney
for the Western District of Washington, and Harold Malkin, Assistant United States Attorney,
acting on behalf of the United States Department of Defense, alleges as follows:

NATURE OF ACTION

1. This action is brought against Defendant Jackie D, Long under the provisions of the
False Claims Act ("FCA"), 31 U.S.C. §§ 3729-3733, and the common law theories of unjust
enrichment, payment by mistake, and breach of contract.

PARTIES

2. Plaintiff is the United States of America, acting on behalf of TRICARE, a field

activity of the Department of Defense.

3. Defendant Jackie D. Long, doing business as Island Speech Language and

Rehabilitation, resides and operates her business at 390 Northeast Midway Boulevard, Suite

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700 STaWART STREET, SUITE 5220
SEATTLE, WASHINGTON 93101-1271

COMPLAINT - | (206) 553-7970) 553-7970
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Case 2:09-cv-01258-RAJ Document1 Filed 09/04/09 Page 2 of 5

B-101, Oak Harbor, Washington, 98277.
JURISDICTION AND VENUE

4. Jurisdiction is conferred upon this Court pursuant to 28 U.S.C. § 1345 and 31 U.S.C.
§ 3732.

5. Venue is proper in this judicial district under 28 U.S.C. §§ 1391(b) and 1391(c) and 31
U.S.C. § 3732(a). Defendant resides and transacts business within this district, and all or a
substantial part of the acts proscribed by the FCA occurred in this district.

STATUTORY AND REGULATORY PROVISIONS
The False Claims Act

6. As amended in 1986, the FCA provides that any person who, in reckless disregard or
deliberate ignorance of the truth, or with actual knowledge, submits a false or fraudulent claim to
the United States for payment or approval, or knowingly makes a false record or statement to get
a false or fraudulent claim paid or approved by the United States, is liable for a civil penalty for
each claim, plus three times the amount of the damages sustained by the United States because
of the false claim, 31 U.S.C. § 3729.

TRICARE

7. TRICARE Management Activity ("TRICARE," formerly referred to as the "Office of
Champus"), is a federal health benefits program that provides health benefits to eligible
dependents of active duty and retired members of the Uniformed Services.

& The TRICARE program is administered through the Department of Defense.
TRICARE uses fiscal intermediaries to process claims for payment from providers of medical
services,

9. Claims are submitted to the TRICARE intermediary by a provider through the use of
an HCFA Form 1500 or the electronic equivalent. The provider is required, as a condition for
payment, to represent to TRICARE that the health care service for which the provider seeks
payment from TRICARE was actually rendered.

10. At all times relevant to this action, the TRICARE intermediaries reviewed and

approved the claims at issue here based upon the information presented by the Defendant.

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Case 2:09-cv-01258-RAJ Document1 Filed 09/04/09 Page 3 of 5

FACTUAL ALLEGATIONS

11. Defendant was a speech therapist who began working for Jennifer deLutio at Oak
Harbor Speech and Language, 231 Southeast Barrington Drive, Suite 202, Oak Harbor,
Washington, 98277, in June, 2003. In July, 2005, Defendant began her own practice, Island
Speech Language and Rehabilitation.

12. Defendant submitted, or caused to be submitted, claims for payment to TRICARE,
10 U.S.C. §§ 1071-1110, while working for deLutio at Oak Harbor Speech and Language and
while working in her own practice at Island Speech Language and Rehabilitation.

13. Defendant, during the period from June, 2004 through October, 2006 knowingly
submitted claims for reimbursement to TRICARE for time-based procedures when such
procedures should properly have been billed on a "per service" or "per encounter" basis.

COUNT I

14, This is a claim under the FCA, 31 U.S.C.§ 3729(a)(1), as amended.

15. The United States re-alleges and incorporates by reference paragraphs | through 13,
as though fully set forth herein.

16. Defendant knowingly presented, or caused to be presented, multiple false or
fraudulent claims for payment for speech therapy services to TRICARE in violation of 31 U.S.C.
§ 3729(a)(1)}.

17. The United States, as a result of Defendant's conduct set forth in this Count, suffered
damages. |

COUNT Il

18. This is a claim at common law for unjust enrichment.

19. The United States re-alleges and incorporates by reference paragraphs | through 13,
as though fully set forth herein.

20. By virtue of the acts described above, Defendant was unjustly enriched at the expense
of the United States through the false claims she submitted to TRICARE during the relevant
period.

21. Defendant is, therefore, liable to the United States for actual damages, interest and

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Case 2:09-cv-01258-RAJ Document 1 Filed 09/04/09 Page 4of 5

the costs associated with the investigation, prosecution and collection of its damages in this
matter.
COUNT Ii!

22. This is a claim at common law for payment by mistake.

23. The United States re-alleges and incorporates by reference paragraphs | through 13,
as though fully set forth herein.

24, By virtue of the acts described above, Defendant caused the United States to make
payments by mistake to Defendant for claims submitted to TRICARE during the relevant period.

25. Defendant is, therefore, liable to the United States for actual damages, interest and
the costs associated with the investigation, prosecution and collection of its damages in this
matter.

COUNT IV

26. This action is brought by the United States against Defendant for common law breach
of contract.

27, The United States re-alleges and incorporates by reference paragraphs | through 13,
as though fully set forth herein.

28. Defendant, as a result of the conduct alleged in paragraphs | through 13, breached
provider agreements with TRICARE and/or its intermediaries.

29. The United States, as a consequence of the acts set forth above, has suffered
damages.

30. Defendant is, therefore, liable to the United States for actual damages, interest and
the costs associated with the investigation, prosecution and collection of its damages in this

maitter.

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Case 2:09-cv-01258-RAJ Document1 Filed 09/04/09 Page 5of5

PRAYER FOR RELIEF
WHEREFORE, Plaintiff demands judgment against the Defendant as follows:
1. As to Count I, the maximum civil penalties and damages provided by the FCA, 31
U.S.C. § 3729;
2. As to Counts IJ, III and IV, for actual damages incurred by the United States, interest
and the costs associated with the investigation, prosecution and collection of its damages in this

matter; and

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3. For such other relief as the Court deems just and equitable.

DATED this 4" day of September, 2009.

COMPLAINT - 5

JEFFREY C. SULLIVAN
UNITED STATES ATTORNEY

Sip fo liom
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